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                        THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              GREENVILLE DIVISION

Joseph E. Konopacke,                )
                                    )
            Plaintiff,              )
  v.                                ) C. A. No. 6:09-cv-02615-HMH-WMC
                                    )
BASF Corporation,                   )
                                    )
            Defendant.              )
____________________________________)



             Defendant’s Responses to Federal Local Rule 26.03 Interrogatories


       Pursuant to the current Scheduling Order, and Local Rule, Defendant BASF Corporation

(“BASF”), responds to Local Rule 26.03 interrogatories as follows:

               1.     A short statement of the facts of the case:

               ANSWER:

        The following is a brief statement of facts as understood by counsel at this time.

       Business conditions in the automotive industry in 2008 led to a reduction in production,

sales, and revenue which caused BASF’s Automotive OEM Coatings Group to lower costs by

exiting half of its business accounts, and focusing on retaining its remaining accounts, instead of

launching new business accounts. Given BASF’s Automotive OEM Coatings Tier Accounts

Group’s new strategy of focusing on retaining its remaining accounts, instead of launching new

business accounts, the position of Launch Manager Service Coordinator, held solely by Joseph

Konopacke, (age 52), was eliminated because it was no longer needed. Since Konopacke was

the sole incumbent in the Launch Manager Service Coordinator position, there were no younger,
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less experienced and lesser qualified employees in the position who were retained. No one was

placed in Konopacke’s position after his termination from BASF, and no one is performing the

duties of Konopacke’ position with BASF. A total of twenty-six (26) positions within the

Automotive OEM Coatings Group, including Konopacke’s, were eliminated.                Statistical

evidence will show that the selection decisions impacted those under the age of forty (40) to a

greater degree than those forty (40) years of age and older.

       Konopacke applied for two positions posted on BASF’s Career website on October 20,

2008, a Coatings Process Leader position, and a Field Technical Service Representative position.

Both positions were created to support BASF’s paint business at KIA’s new WestPoint, Georgia,

Plant. Bill Kosteniuk (age 55), Technical Service Manager, was both the supervisor and hiring

manager for the Coatings Process Leader position. Kosteniuk was also the hiring manager for

the Field Technical Service Representative position. Kosteniuk reported to Joseph Schmondiuk,

(age 48).

       Kosteniuk and Schmondiuk selected Victor DiVirgilio, (age 46), for the Coatings Process

Leader position at KIA’s WestPoint, Georgia, Plant based upon DiVirgilio’s proven and

consistent history of leadership, teamwork, and customer interaction skills. Further, DiVirgilio

was selected because Kosteniuk and Schmondiuk saw no risk in placing him in the position, but

did see risk in placing Konopacke in the position because of Konopacke’s previous difficulties

with customers.

       Kosteniuk and Schmondiuk interviewed each candidate for the Field Technical Services

Representative position, including Joseph Konopacke and the person who was chosen for the

position, Tommy Lilienkamp, (age 48). The Field Technical Service Representative was to

physically perform the duties of the position within KIA’s WestPoint, Georgia, Plant, and



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reported to the Coatings Process Leader position. Had Konopacke been selected for the Field

Technical Service Representative position, he would have reported to DiVirgilio.

       Konopacke and Schmondiuk selected Lilienkamp for the Field Technical Service

Representative position.      The Field Technical Service Representative position was not a

satisfactory match for Konopacke. BASF has a standard practice of not assigning employees to

positions that are three or more salary grades below their current positions, which is not an age

based practice.

       Konopacke alleges that he was terminated from his employment based on his age when

his job was eliminated.        Konopacke further claims that the decision not to continue his

employment in one of two other positions for which he applied at BASF was because of his age.

Konopacke claims BASF’s actions violated the Age Discrimination in Employment Act, 29

U.S.C. § 626 (“ADEA”).           As the foregoing discussion shows, there is no support for

Konopacke’s contentions.

       2.         The name of fact witnesses likely to be called by the party and a brief

summary of their expected testimony:

                  ANSWER:

                  Roland DeLoach*, Corporate EEO Manager, will know about Konopacke’s
                  employment, the facts, circumstances and documentation of the reduction in force
                  that eliminated Konopacke’s position of Launch Manager Service Coordinator,
                  and BASF’s policies and procedures. DeLoach will know about the severance
                  benefits and general release offered to Konopacke. DeLoach will know about the
                  reduction in force, including information about the decisional units.

                  Jim Fielder**, Konopacke’s former manager, will know about Konopacke’s
                  performance, customer relations, and ultimate removal from both a BMW and a
                  Mercedes Benz facility.

                  Joseph E. Konopacke is expected to know about his claims in this matter.




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             Kristie Karr*, Human Resources Business Partner, will know about Konopacke’s
             employment, the facts, circumstances and documentation of the reduction in force
             that eliminated Konopacke’s position of Launch Manager Service Coordinator,
             and BASF’s policies and procedures. Karr will know about the severance
             benefits and general release offered to Konopacke. Karr will know about the
             reduction in force, including information about the decisional units.

             Bill Kosteniuk*, Technical Service Manager, will know about the reduction in
             sales and production, reduced revenue for BASF’s Automotive OEM Coatings
             Group, and decisions in 2008 to lower costs by exiting half of the business of the
             OEM Coatings Tier Accounts Group to focus on remaining accounts as opposed
             to launching new business accounts. Kosteniuk will know about the posting,
             interviews, and decisions regarding the positions of Coatings Process Leader and
             Field Technical Service Representative created to support BASF’s paint business
             at KIA’s WestPoint, Georgia, Plant. Kosteniuk will know about the work history,
             performance, positions, and qualifications of Victor DiVirgilio and Tommy
             Lilienkamp.

             Lynette Papushak*, Counsel, will know about Konopacke’s employment, the
             facts, circumstances and documentation of the reduction in force that eliminated
             Konopacke’s position of Launch Manager Service Coordinator, and BASF’s
             policies and procedures. Papushak will know about the severance benefits and
             general release offered to Konopacke. Papushak will know about the reduction in
             force, including information about the decisional units.

             Joseph M. Schmondiuk, III*, Global Account Director – OEM Coatings
             Solutions, will know about the reduction in sales and production, reduced revenue
             for BASF’s Automotive OEM Coatings Group, and decisions in 2008 to lower
             costs by exiting half of the business of the OEM Coatings Tier Accounts Group to
             focus on remaining accounts as opposed to launching new business accounts.
             Schmondiuk will know about the posting, interviews, and decisions regarding the
             positions of Coatings Process Leader and Field Technical Service Representative
             created to support BASF’s paint business at KIA’s WestPoint, Georgia, Plant.
             Schmondiuk will know about the work history, performance, positions, and
             qualifications of Vic DiVirgilio and Tommy Lilienkamp.

             BASF reserves the right to call rebuttal witnesses.

             BASF reserves the right to name additional witnesses in discovery.

             BASF reserves the right to call any witness named by the Plaintiff.

*Individuals designated with an asterisk “*” are current BASF management-level employees
who may only be contacted through counsel for BASF.




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**Individuals designated with a double asterisk “**” are former BASF management-level
employees whose knowledge may be privileged and/or protected from disclosure under the
attorney-client privilege and/or work-product doctrine. As to these employees, any applicable
privilege or protection belongs solely to BASF, and BASF does not waive any such privilege.
Should Konopacke or his counsel desire to contact these individuals, counsel for BASF should
be notified before any contact is made and should be afforded the opportunity to be present to
protect BASF’s privilege(s) at any meeting, in any discussions, or in any correspondence.

              3.       The names and subject matter of expert witnesses:

              ANSWER:

              BASF has not yet retained an expert, but reserves the right to do so if needed.

              4.       Summary of the claims or defenses with statutory and/or case cites

supporting the same:

              ANSWER:

       Konopacke alleges causes of action under the Age Discrimination in Employment Act,

29 U.S.C. § 626 (“ADEA”). BASF denies these claims. Cases that may set forth applicable law

include McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), Texas Dep't of Community

Affairs v. Burdine, 450 U.S. 248 (1981), St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502 (1993),

and Reeves v. Sanderson Plumbing Prod., 530 U.S. 133 (2000). The burden-shifting analysis set

forth in McDonnell Douglas Corp. v. Green applies to age discrimination cases in the Fourth

Circuit. Halperin v. Abacus Tech. Corp., 128 F.3d 191, 196 (4th Cir. 1997). Gross v. FBL

Financial Services, Inc., 557 U.S. ____, 174 L.Ed.2d 119, 129 S.Ct. ____(2009)(An ADEA

plaintiff must prove by a preponderance of the evidence that age was the “but for” cause of the

challenged employment action.)

       BASF intends to demonstrate that Konopacke’s claims with regard to his termination

from employment fail because his position was eliminated, and he was not replaced by a younger

person. BASF intends to demonstrate that it had legitimate, non-discriminatory reasons for



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choosing other individuals for the positions Konopacke applied for, Coatings Process Leader,

and Field Technical Service Representative. BASF will show that the reasons for choosing these

candidates, instead of Konopacke, were not motivated by age, but other factors. BASF will offer

statistical evidence that the reduction in force did not discriminate based on age.

               5.      Proposed scheduling dates:

               ANSWER:

               The parties agree that the dates set forth in the Conference and Scheduling Order

filed October 30, 2009, are appropriate.

               6.      Special circumstances affecting the time frame of the scheduling

order:

               ANSWER:

               None.

               7.      Additional information requested in the pre-scheduling order:

               ANSWER:

               None.

Dated this 2nd day of December, 2009.

                                              By:     s/Fred W. Suggs, Jr. ______
                                                      Fred W. Suggs, Jr. (# 4376)
                                                      Peter B. Murphy (# 9917)

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                                    )
            Plaintiff,              )
  v.                                ) C. A. No. 6:09-cv-02615-HMH-WMC
                                    )
BASF Corporation,                   )
                                    )
            Defendant.              )
____________________________________)



                             CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of December, 2009, I electronically filed the
foregoing Defendant’s Responses to Federal Local Rule 26.03 Interrogatories with the Clerk
of Court using the CM/ECF system, and that a copy has been electronically served via CM/ECF
on:

                           William A. Jordan, Esq.


                                                s/Fred W. Suggs, Jr.
                                                Fred W. Suggs, Jr.

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